

People v Vargas (2023 NY Slip Op 05198)





People v Vargas


2023 NY Slip Op 05198


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Kapnick, J.P., Oing, Moulton, Higgitt, JJ. 


Ind. No. 497/15 1119N/15 1053/16 Appeal No. 793-793A Case No. 2019-5834 

[*1]The People of the State of New York, Respondent,
vGiovanni Vargas, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgments, Supreme Court, New York County (Richard M. Weinberger, J.), rendered June 15, 2016, as amended September 6, 2016, convicting defendant, upon his pleas of guilty, of burglary in the third degree, identity theft in the third degree, criminal sale of a controlled substance in the third degrees, criminal possession of a controlled substance in the third degree, criminal possession of stolen property in the fourth degree, and grand larceny in the third degree, and sentencing him to an aggregate term of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed on defendant at sentencing under Indictment Nos. 497/15 and 1119N/15, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharges and fees imposed on defendant at sentencing under Indictment Nos. 497/15 and 1119N/15 (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








